                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                DOCKET NO.: 3:12cr239-GCM

UNITED STATES OF AMERICA                            )
                                                    )
       v.                                           )               ORDER
                                                    )
NATHAN SHANE WOLF            (16)                   )


       THIS MATTER IS BEFORE THE COURT upon the motion of Defendant, Nathan

Shane Wolf, to extend reporting time to BOP. For cause shown, the Motion is GRANTED.

       IT IS ORDERED that Defendant’s date to report to the BOP is extended until

December 7, 2015.

       The Clerk is directed to furnish copies of this Order to defendant, defense counsel, United

States Probation Office, the United States Marshal Service and the United States Attorney.

                                          Signed: October 1, 2015




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